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OBSTETRICS/GYNECOLOGY - CONTINUED

PHYSICIAN CONSULT
¢ Pre-Eclampsia

¢ Magnesium Sulfate loading dose 4 gm/50 cc IV 0.9% NaCl over 15 minutes

* Magnesium Sulfate maintenance drip 2 gm/50 cc at 50 cc/hr
* Seizures unresolved by magnesium sulfate (Eclamptic)

* Ativan | mg, tirated to effect, max of 4 mg

OR
-¢ Versed 2.5 mg over 2 minutes, may be repeated to a maximum dose of 10 mg

PaIn MANAGEMENT

 

CAUTION:
Pain medications may produce respiratory depression

InpicaTions: Relief of moderate to severe pain: e.g. trauma, fractures, dislocations, kidney stones,
and burns

» BLS

*  Vitalize/Prioritize
« Oxygen/Airway
* Monitor patient's level of consciousness and respiratory status

ALS
¢ EKG monitor
« IV 0.9% NaCl KVO or Saline lock if stable
¢ Fluid bolus in the presence of hypotension
+ Fentanyl 1 mcg/kg over 2 minutes, titrated to effect, not to exceed 3 mcg/kg
OR
« Morphine 1-5 mg, titrated to effect
« Zofran 4 mg over a minimum of 30 seconds

PEDIATRIC
« Fentanyl 1 mcg/kg over 2 minutes, titrated to effect, not to exceed 3 mceg/kg
OR

* Morphine 0.1 mg/kg, titrated to effect
¢ Zofran 0.1 mg/kg over a minimum of 30 seconds, not to exceed 4 mg

A Jt EXHIBIT 2
Onta kt

Deponent.

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PHARMACEUTICAL ASSISTED INTUBATION (PAI)

CAUTION:

* Have ALL airway devices and equipment (Suction, Bougie, secondary airway devices) ready

° Etomidate is contraindicated in pediatrics with suspected sepsis, septic shock, and adrenal
insufficiency

* Succinylcholine is contraindicated in any patients with a family history of Malignant
Hyperthermia

* Neuromuscular blockade does not alter the patient’s pain level or level of response

* Use sedation prior to the use of paralytics AND post intubation after the use of Etomidate

* Consider pain management for trauma patients regardless of level of sedation

BLS
¢  Vitalize/Prioritize
* Oxygen/Airway
+ Preoxygenate the patient for a minimum of 2 minutes via NRM or BVM. Use adjuncts when
appropriate.
} ALS
¢ EKG Monitor
¢ IV 0.9% NaCl
¢ Fluid bolus in presence of hypotension
° Pre-Medication
» Bradycardia: Atropine 0.5 mg for HR less than 60 bpm
* Mandatory in ALL repeat doses of Succinylcholine
¢ Induction:
* Etomidate: 0.3 mg/kg, may repeat once for a max dose of 0.6 mg/kg
OR
« Versed 5 - 10 mg over 30 seconds, titrated to effect, repeat every 2 minutes if needed, not to
exceed 0.3 mg/kg max cumulative dose
¢ Neuromuscular Blockade
¢ Succinylcholine 1.5 mg/kg, May be repeated once after Atropine
« Post Intubation (If further sedation is required)
° Sedation:
+ Ativan 1 mg increments to a max of 4 mg
OR
¢ Versed: 2.5 mg over 2 min, may repeat once for max dose of 5 mg
¢ PHYSICIAN CONSULT must be obtained to exceed the max allowed benzodiazepine dose.
e Neuromuscular Blockade
¢ Norcuron 0.1 mg/kg, repeat dosing as indicated
* Consider Pain Management
¢ Fentanyl 1 mcg/kg over 2 minutes, titrated to effect, not to exceed 3 meg/kg
OR
¢ Morphine | - 5 mg, titrated to effect
« Zofran 4 mg over a minimum of 30 seconds

 

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PHARMACEUTICAL ASSISTED INTUBATION - CONTINUED

PEDIATRIC
° Pre-Medication
¢ Bradycardia:
* Atropine 0.02 mg/kg for HR less than 100 bpm not to exceed 0.5 mg
e Induction:
« Etomidate: 0.3 mg/kg, may repeat once for a max dose of 0.6 me/kg
OR
« Versed 0.3 mg/kg over 30 seconds, not to exceed 10 mg
¢ Neuromuscular Blockade
¢ Succinylcholine 2 mg/kg (No repeat dosing allowed)
° Post Intubation (If further sedation is required)
* Sedation:
* Ativan 0.1 mg/kg, titrated to effect, not to exceed 4 mg
OR
* Versed: 0.3 mg/kg over 30 seconds, may repeat once for max dose of 0.6 mg/kg
* PHYSICIAN CONSULT must be obtained to exceed the max allowed benzodiazepine dose.
¢ Neuromuscular Blockade
¢ Norcuron 0.1 mg/kg, repeat dosing as indicated
« Consider Pain Management
+ Fentanyl 1 mcg/kg over 2 minutes, titrated to effect, not to exceed 3 meg/kg
OR
* Morphine 0.1 mg/kg IV or IM slowly
¢ Zofran 0.1 mg/kg over a minimum of 30 seconds, not to exceed 4 mg

PAI COMPLICATIONS
SUSPECTED MALIGNANT HYPERTHERMIA (MH)/DUSCHENNE'S MUSCULAR DYSTROPHY

INDICATIONS:
Signs of Malignant Hyperthermia include increasing EtCO,, trunk or total body rigidity,
trismus, tachycardia

CAUTION:

Duschenne's Muscular Dystrophy can cause sudden cardiac arrest post Succinylcholine
administration.

Use of Calcium Channel Blockers is prohibited in perfusing patients

 

8) ALS:

Contact receiving ER immediately upon onset of suspected Malignant Hyperthermia.
Offer MHAUS hotline# 1-800-644-9737

PHYSICIAN CONSULT - Request dose for all medications

« Hyperventilate with 100% O2 at 10+LPM

* Sodium Bicarbonate

« Cool patient with ice packs to surface areas (MH ONLY)
¢ Calcium Chloride

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BITES AND STINGS
BLACK WIDOW

Benzodiazepines are preferred for pain management.

&: BLS

tat

Vitalize/Prioritize
Oxygen/ Airway

@) ALS
* EKG monitor

e

IV 0.9% NaCl KVO or Saline lock

¢ Fluid bolus in presence of hypotension

Ativan 1 mg increments, max of 4 mg
OR

Versed: 2.5 mg over 2 minutes, may repeat once after 5 minutes

Consider pain management

« Fentanyl 1 mcg/kg over 2 minutes, titrated to effect, not to exceed 3 meg/kg
OR

¢ Morphine 1-5 mg, titrated to effect

e Zofran 4 mg over a minimum of 30 seconds

PHYSICIAN CONSULT

Calcium Chloride 10% (request dosage from ED Physician)

PEDIATRIC

Ativan 0.1 mg/kg increments, max of 4 mg
OR

Versed: 0.3 mg/kg over 2 minutes

Consider pain management

+ Fentanyl 1 meg/kg over 2 minutes, titrated to effect, not to exceed 3 mcg/kg
OR

¢ Morphine 0.1-0.2 mg/kg, titrated to effect

 Zofran 0.1 mg/kg over a minimum of 30 seconds, not to exceed 4 mg

PHYSICIAN CONSULT

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Calcium Chloride 10% (request dosage from ED Physician)
Doses greater than max allowed dose of benzodiazepine

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COCAINE OVERDOSE

BLS
°  Vitalize/Prioritize
* Oxygen/Airway

(se) ALS

, ¢ EKG monitor

« IV 0.9% NaCl KVO or Saline lock

¢ Fluid bolus in the presence of hypotension

« Seizures, refer to Seizures in Treatment Guideline

e 12 Lead EKG
¢ V,Rshould be manually evaluated if any ST elevation in leads II, III, or aVF

« For chest pain with onset of less than 12 hours after cocaine consumption (No ST elevation)
« Ativan 1 mg q 3-5 minutes until relief of chest pain, max 4 mg

OR

¢ Versed 2.5 mg over 2 minutes, may be repeated once for a max of 5 mg

* _IfST elevation noted in 12-lead or chest pain > 12 hours, refer to Acute Coronary Syndrome/
Chest Pain in Treatment Guideline

* Chest pain unrelieved by Ativan/Versed, refer to Acute Coronary Syndrome/Chest pain in
Treatment Guideline

PHYSICIAN CONSULT
* Notify emergency department if patient ingested/inserted cocaine powder or crack

PEDIATRIC

« Ativan 0.1 mg/kg
OR

« Versed 1-2 mg

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SEDATION

INDICATIONS:

* Cardioversion

« External pacing

¢ Combative patient

CAUTION:
¢ Benzodiazepines may cause respiratory depression or compromise

* When administering, observe for signs of hypotension or respiratory depression

ALS
* Anesthetic spray to posterior pharynx (for intubation)
* Ativan 1 mg increments to a max of 4 mg
OR
° Versed: 2.5 mg over 2 minutes, may repeat once for max dose of 5 mg

 

PHYSICIAN CONSULT
* Doses greater than max allowed benzodiazepine

PEDIATRIC
* Ativan 0.1 mg/kg, not to exceed 4 mg, titrated to effect
OR

* Versed 0.3 mg/kg over 2 minutes, may repeat once after 5 minutes, not to exceed 10 mg total

PHYSICIAN CONSULT
¢ Doses greater than max allowed benzodiazepine

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SEIZURES

CAUTION:

‘

 

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) ALS

PEDIATRIC

 

Refer to OB/GYN Guideline in pregnant/post partum patients (Eclampsia)

Consider infectious disease as etiology of seizure (Meningitis, Encephalitis), Use appropriate PPE/
BSI

Use caution not to over cool a febrile patient to the point of shivering. Use of PO medications
should be avoided in patients with decreased level of consciousness.

The preferred route of Versed administration in seizures is intranasal

Neuromuscular blockade does not supress seizure activity

Vitalize/Prioritize

Oxygen/Airway

Protect from injury

Consider C-Spine precautions if suspected injury

EKG monitor
IV 0.9% NaCl KVO or Saline lock
Obtain BGL
Ativan | mg, may be repeated to a max of 4 mg
OR
Versed 2.5 mg over 2 mintes, may repeat initial dose to a maximum of 10 mg
Consider use of neuromuscular blockade in cases of status epilepticus, refer to Pharmaceutical
Assisted Intubation in Treatment Guideline

Febrile seizures
» Treat febrile seizures by cooling. (Avoid rapid temperature change and shivering)
¢ Consider Ativan or Versed if seizures are continuous
» Children’s Acetaminophen liquid 10 mg/kg PO when level of consciousness permits
Idiopathic (non-febrile) seizures
¢ Ativan 0.1 mg/kg, not to exceed 4 mg
OR
 Versed 0.3 mg/kg, not to exceed 10 mg
Consider use of neuromuscular blockade in cases of status epilepticus, refer to Pharmaceutical
Assisted Intubation in Treatment Guideline
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LORAZEPAM MAGNESIUM SULFATE
(ATIVAN)
CLASS CLASS

Anticonvulsant/Sedative, Benzodiazepine Anticonvulsant/Antiarrhythmic
ACTIONS ACTIONS

Lorazepam is a benzodiazepine with a shorter half-life than
diazepam. It suppresses the spread of seizure activity through
the motor cortex of the brain.

INDICATIONS
Eclampsia (Physician Consult)
Post Intubation Sedation
Sedation
Seizures
Black Widow Spider Bites
Cocaine Overdose

CONTRAINDICATIONS

History of hypersensitivity
SIDE EFFECTS

Hypotension, drowsiness, headache, amnesia, respiratory
depression, blurred vision, nausea and vomiting.

WARNINGS

Because of its short half-life, seizure activity may recur.
In such cases, additional doses may be required. May cause
respiratory depression. Monitor respiratory status closely,
Romazicon can be used as an antidote.

DOSAGE
Adults: | mg increments to a max of 4 mg
Pediatrics: 0.1 mg/kg, not to exceed 4 mg

Magnesium Sulfate is a central nervous system depressant
and vasodilator.

INDICATIONS
Eclampsia including pre-eclampsia
Torsades De Pointes
Refractory V-fib/pulseless v-tach
Status asthmaticus

CONTRAINDICATIONS
Renal diseases
Heart blocks
CHF
Bradycardia
Cardiogenic shock

SIDE EFFECTS
Respiratory depression, bradycardia, heart block, CHE,
bronchospasm, postural hypotension.

DOSAGE

Eclampsia: Loading dose 4 gm/I0 cc IVP over 3 min.

Maintenance dose 2 gm/50 ce at 50 ce/hr

Pre-Eclampsia (Physician Consult): Loading dose 4
gm/50 cc IV 0.9% NaCl over [5 minutes

Maintenance dose 2 9m/S0 cc at 50 cc/hr

Refractory V-fib: 1-2 gm slow IVP over 1-2 minutes

Torsades De Pointes: 1-2 gm diluted in 10 cc NaCl ad-
ministered [V over 3 minutes, may repeat twice.

Status Asthmaticus: 2 gm diluted in 10 cc NaCl admin-
istered IV over 3 minutes, may repeat twice.

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